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  United States Court of Federal Claims
                                        No. 16-694 C
                             Filed Under Seal: January 28, 2019
                                  Reissued: March 22, 2019
___________________________________

AMERICAN VANGUARD
CORPORATION,

              Plaintiff,

v.

UNITED STATES OF AMERICA,

              Defendant.
____________________________________

Barry M. Hartman, Kirkpatrick & Lockhart, Washington, D.C., for plaintiff.

Tara K. Hogan, United States Department of Justice, Washington, D.C., for defendant.

                                ORDER AND OPINION

Hodges, Senior Judge.

       Plaintiff American Vanguard Corporation filed this claim, alleging that a Stop
Sale, Use, or Removal Order issued by the Environmental Protection Agency constituted
an unconstitutional taking of its property. The alleged property is American’s
pentachloronitrobenzene (PCNB) business, including personal and intangible property
used for manufacturing, selling, and/or distributing PCNB and PCNB-related products.

        Defendant filed a motion for summary judgment maintaining inter alia that
plaintiff is not entitled to compensation for economic losses suffered as a result of
congressionally authorized enforcement actions taken by the EPA. Plaintiff filed a partial
motion for summary judgment in opposition, contending essentially that it had a
cognizable Fifth Amendment property interest, and that the said property was “taken.”

       For the reasons stated below, we find that plaintiff does not possess a cognizable
property interest in the property allegedly taken. Plaintiff’s complaint must be dismissed.
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                                         BACKGROUND

           Congress maintains a comprehensive legislative scheme regarding the regulation
    of pesticides and the EPA’s approval of pesticide registrations. The Federal Insecticide,
    Fungicide, and Rodenticide Act provides that the EPA’s approval of registrations is
    conditioned on a determination that a pesticide, including its use directions and
    composition, “will not generally cause unreasonable adverse effects on the environment.”
    7 U.S.C. § 136a(c)(5)(D). The Act defines “unreasonable adverse effects” as “any
    unreasonable risk to man or the environment, taking into account the economic, social,
    and environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

            Registration requires an applicant to disclose the “complete formula of the
    pesticide,” including data related to certain impurities of toxicological significance, by
    submitting a form called a Confidential Statement Formula, or CSF. 1 7 U.S.C. §
    136a(c)(1)(D); 40 C.F.R. § 152.50(f). The form instructs the applicant to list impurities
    greater than or equal to 0.1% or impurities of lesser amount determined by the EPA to be
    of toxicological significance and to propose certified limits. 40 C.F.R. § 158.320(c), (d).
    Selling or distributing registered pesticide the composition of which differs at the time of
    its sale or distribution from its CSF description is unlawful. 7 U.S.C. § 136j(a)(1)(C).

            The Act generally prohibits the sale or distribution of a pesticide product unless it
    is registered. 7 U.S.C. § 136a(a). To ensure compliance, the EPA may issue a “stop sale,
    use, or removal order” where “there is reason to believe that on the basis of inspections or
    tests” that a pesticide is in violation of the Act or has been or is intended to be distributed
    or sold in violation of its provisions. 7 U.S.C. § 136k(a). Such orders are to be issued
    only where the EPA has reason to believe that there is a potential hazard to human health
    or the environment or to address serious violations that present a threat of harm.

           American manufactures, distributes, and sells a variety of agricultural and non-
    agricultural pesticide products, such as herbicides, insecticides, and fungicides,
    domestically and internationally. One of its product lines is based on an active ingredient
    known as PCNB, which has been registered with the EPA since 1985. PCNB is a
    fungicide that may be formulated into end-use products for terrestrial food crop and non-
    crop applications. American contends that these products prevent mold fungus growth on
    grass and are applied on various crops. It adds that effective application of the product
    must occur in October and November and that it is busiest in September and October.



1
    An “[i]mpurity associated with an active ingredient means: (1) Any impurity present in
    the technical grade of active ingredient; and (2) Any impurity which forms in the
    pesticide product through reactions between the active ingredient and any other
    component of the product or packaging of the product.” 40 C.F.R. § 158.300.
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            American detected an impurity in its PCNB products in 1993 and informed the
    EPA. (ECF No. 49 at 16 (*************************************************).)
    EPA assigned the report internally for non-expedited review, but took no further action.
    Pursuant to section 136a–1 of the Act, which required the EPA to review older pesticides
    for compliance with current regulatory standards, the EPA completed its review of PCNB
    to determine whether the PCNB should be reregistered in 2006. EPA concluded that for
    most uses of PCNB, the adverse environmental effects outweighed the benefits of the
    uses. As a result, EPA found that PCNB was ineligible for reregistration; it did not
    initiate proceedings to cancel registrations, however. 2

            EPA in 2009 learned that Australian researchers and the Australian authority in
    charge of regulating pesticides revealed the presence of dioxins in PCNB products. EPA
    then requested that American provide samples of PCNB for analysis. The result of the
    analysis completed in January 2010 showed the presence of dioxin in the samples. EPA
    officials then met with plaintiff to discuss elimination of the PCNB impurities. 3 EPA’s
    Office of Pesticide Programs referred the matter to the Office of Enforcement &
    Compliance in the summer of 2010 to determine if enforcement action was appropriate.

            The Office of Enforcement & Compliance found that, based on the sample testing
    results, that adequate evidence that the PCNB products sold by plaintiff contained dioxin,
    an impurity of toxicological significance that was not identified on the CSF. During the
    review, they briefed the EPA’s Director of the Waste and Chemical Enforcement
    Division (Ms. Kelley) and the Assistant Administrator for Enforcement’s aide (Mr.
    Kushner). EPA issued a Stop Sale, Use, or Removal Order on August 2010, signed on
    behalf of Ms. Kelley by Mr. Lott, her deputy.

           EPA’s Order explained that a registrant may not sell or distribute a pesticide
    product with a composition that differs from the approved composition. It found that the
    CSF submitted by American had not identified the impurity and therefore had not
    reported adequately the composition of the product as required by 7 U.S.C. § 3 and 40
    C.F.R. § 158.320. The EPA, as a result, ordered American to cease immediately the
    distribution, sale, or use of PCNB products that were in American’s ownership, custody
    or control. Appx 5–6 (citing 7 U.S.C. § 136j(a)(1)(C)). The Order also required American
    to submit a written proposal for proper disposition of all violative PCNB products.

2
    EPA subsequently accepted American’s voluntary request to amend their registrations
    and to terminate use PCNB for “[g]olf course roughs; residential sites including lawns,
    yards, and ornamental plants and gardens around homes and apartments; grounds around
    day care facilities; school yards; parks (except industrial parks); playgrounds; and athletic
    fields (except professional and college fields).” Pentachloronitrobenzene (PCNB);
    Amendments to Terminate Uses, 74 Fed. Reg. 34, 337 (July 15, 2009).
3
    The parties dispute the content of those discussions and whether the EPA informed
    American that it needed submit a revised CSF to identify the presence of the impurity.
                                                 -3-
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            American then sent a letter to EPA, wherein it requested that EPA lift its Order
    and signaled its willingness to submit a revised CSF, along with all necessary supporting
    data, if such an amendment would provide a sufficient basis for lifting the Order. (ECF
    No. 49-1 at 231–233 (claiming that the Order had effectively suspended American’s
    licenses for PCNB products and that by not utilizing the normal procedures for
    suspending or cancelling registrations under the Act, 4 the EPA had not given American
    an opportunity to contest the Order or make adjustments in its registrations).) EPA
    disagreed with American’s assertions that it was in compliance with the Act.

           American filed a claim in late August 2010 in the District Court for the District of
    Columbia to enjoin the EPA Order. See Am. Vanguard Corp. v. Jackson, 803 F. Supp. 2d
    8 (D.D.C. Aug. 17, 2011) (indicating that plaintiff had argued that Ms. Kelley lacked
    legal authority to issue the Order). The court found that the Order was in violation of the
    Administrative Procedures Act and vacated it. It ruled that the Order was issued illegally,
    as there was no evidence that the authority to issue such orders had been reassigned by
    the EPA from the Director of the Toxics and Pesticides Division to the Director of the
    Waste and Chemical Enforcement Division, Ms. Kelley. Id. at 14–16

           American submitted an application to amend the registration of PCNB in
    September 2010, which included a revised CSF. The revised CSF identified the presence
    and concentration of the impurity and proposed an upper limit for the impurity. EPA
    approved plaintiff’s amended registration for certain products/uses and authorized it to
    sell PCNB products in November 2011, after the court’s ruling. American voluntarily
    discontinued certain uses of PCNB and resumed its domestic sale of PCNB products.

           Thereafter, American filed this claim before our court, alleging that the EPA’s
    Order was a violation of its Fifth Amendment right because it was a taking of private
    property without just compensation. It claims that it lost its PCBN business in the crop
    and turf sector and that it does not expect to recover that business for many years.
    American defines the taken property as its domestic PCNB business, which includes
    “manufacturing facilities and processes, technical know-how, intellectual property,
    customer lists, sales networks, distribution networks, product sales, and transferable
    licenses and registrations.” Compl. 1. The Government filed a motion for summary



4
    To ensure that pesticides comply with the Act, American points out that the EPA
    Administrator may act in a variety of ways: (A) cancel a registration; (B) suspend the
    registration pending cancellation if there is an imminent hazard that exists during the
    cancellation proceedings; (C) seize certain pesticides for limited misbranding,
    adulteration, or similar conditions; (D) issue a stop sale, use, or removal order; or (E)
    impose civil and criminal penalties. (ECF No. 49 at 13.)
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    judgment. 5 Plaintiff submitted a cross-motion for partial summary judgment in response
    asking the court to find that a taking occurred and to proceed to trial on damages.

                                   STANDARD OF REVIEW

           The movant prevails on a Rule 56 summary judgment motion when it shows there
    is no genuine dispute as to any material fact and that it is entitled to judgment as a matter
    of law. Cross-motions for summary judgment are reviewed under the same standard.
    Mingus Constructors, Inc., v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987).

                                          DISCUSSION

           The Government argues that American’s complaint should be dismissed for three
    separate reasons: American is estopped from arguing that the Order was authorized
    government conduct, a necessary element of a cognizable taking claim, because it
    previously took the position that EPA’s action lacked legal authority; American does not
    have a legally cognizable property interest; and American lacks the required reasonable
    investment-backed expectations to show that a regulatory taking occurred.

           1. Estoppel Defenses

            The Government contends that collateral estoppel bars American from claiming
    that the Order was an authorized action, a required element of a takings claim, at it
    argued before the district court that the Order was issued illegally. It further argues that
    judicial estoppel prevents American from arguing that such unauthorized action was
    ratified; it maintains that any acquiescence by the EPA after the Order was vacated is
    legally irrelevant, as there was no longer any agency action capable of being ratified. We
    disagree. We find that the Government has not established the elements of an estoppel
    defense and that the EPA Order was an authorized action for purposes of a takings claim.

            The taking of property by an officer of the United States, without express or
    implied authorization by some act of Congress, is not the act of the Government;
    therefore, recovery is not available in the Court of Claims. Reg’l Rail Reorganization
    Cases, 419 U.S. 102, 127 n.16 (1974) (citation and quotations omitted); Tabb Lakes, Ltd.
    v. United States, 10 F.3d 796, 802 (Fed. Cir. 1993) (stating that a Tucker Act claim does
    not lie for an executive taking not authorized by Congress, expressly or by implication).

           Collateral estoppel applies to prevent re-litigation of an issue of fact or law when
    the identical issue has been fully litigated and decided in a prior suit by the same party.


5
    The Government previously filed a motion to dismiss for failure to state a claim and lack
    of subject matter jurisdiction, which this court denied.
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United Access Techns., LLC v. Century Broadband Servs., LLC, 778 F.3d 1327, 1331
(Fed. Cir. 2015). To apply the doctrine, a party must demonstrate that:

              (1) the previous determination was necessary to the decision;
              (2) the identical issue was previously litigated; (3) the issue
              was actually decided in a decision that was final, valid, and
              on the merits; and (4) the party being precluded from
              relitigating the issue was adequately represented in the
              previous action.

Id. (citations omitted).

        Defendant has not established its estoppel defense because the issue previously
litigated is not identical to the one before us. The issue here is whether the Order is
authorized in terms of takings law; whereas, the parties litigated whether the official, Ms.
Kelly, had the legal authority to issue the Order under the Administrative Procedures Act.
See Am. Vanguard Corp., 803 F. Supp. 2d at 14 (stating that “the fact that Congress
generally gave EPA the authority to monitor and enforce compliance with the [Act] does
not absolve” it of its obligation to ensure that the official responsible for issuance of a
stop sale, use, or remove order possesses the right to take such action) (emphasis added).

       The Government, nonetheless, contends that the same standards apply. Under both
standards, it argues that an agency action is unauthorized if it was “either explicitly
prohibited or was outside the normal scope of the government officials’ duties.” (See
ECF 50 at 11 (quoting Del-Rio Drilling Programs, Inc. v. United States, 146 F.3d 1358,
1362 (Fed. Cir. 1998)).) As stated in our Order denying defendant’s motion to dismiss,
however, “government conduct is [not] ‘unauthorized,’ for the purposes of takings law,
merely because the conduct would have been found legally erroneous if it had been
challenged in court.” (See ECF No. 23 at 2–3 (quoting Del-Rio, 146 F.3d at 1362).)

        The Federal Circuit in Del-Rio stated in full that: “In a case such as this one, in
which the alleged taking consists of regulatory action that deprives a property-holder of
the enjoyment of property, government agents have the requisite authorization if they act
within the general scope of their duties, i.e., if their actions are a natural consequence of
Congressionally approved measures . . . or are pursuant to the good faith implementation
of a Congressional Act.” 146 F.3d at 1362 (citation and quotations omitted). The district
court in Am. Vanguard Corp. held that the Order was illegally issued; yet, despite its
excavation of internal memoranda relative to the delegation of powers in the EPA, the
trial court did not explore, for instance, whether the Order was issued in good faith.

       Conduct is not unauthorized for purposes of takings law merely because it is found
legally erroneous in court. Del-Rio, 146 F.3d at 1363. There is no good reason to think
that Ms. Kelley’s issuance of the Order reflected anything but a good faith effort to

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    implement the Act. Cf. id. Defendant in fact argued before the district court that the Order
    was issued legally. In its brief before us, moreover, it stated that: “Thus, at all relevant
    times before the district court’s judgment, the EPA officials with delegated authority
    were aware of, and did not object to, the issuance of the [Order].” (ECF No. 45 at 24.)

           Finally, the Government maintains that judicial estoppel should bar American
    from pursuing a ratification theory that cannot be reconciled with its prior position. The
    following three elements must be satisfied to invoke the doctrine of judicial estoppel:

                  First, a party's later position must be ‘clearly inconsistent’
                  with its earlier position. Second, courts regularly inquire
                  whether the party has succeeded in persuading a court to
                  accept that party's earlier position, so that judicial acceptance
                  of an inconsistent position in a later proceeding would create
                  the perception that either the first or the second court was
                  misled. Finally, [a] third consideration is whether the party
                  seeking to assert an inconsistent position would derive an
                  unfair advantage or impose an unfair detriment on the
                  opposing party if not estopped.

    Sharpe v. United States, 134 Fed. Cl. 805, 815 (2017) (quoting Cuyahoga Metro. Hous.
    Auth. v. United States, 65 Fed. Cl. 534, 556 (2005)). Judicial estoppel, however, only
    binds a party to a position that it advocated and successfully achieved. SkyHawke Techs.,
    LLC v. Deca Int’l Corp., 828 F.3d 1373, 1376 (Fed. Cir. 2016) (finding that where
    agency and district court had applied a different standard of claim construction, judicial
    estoppel did not bar the plaintiff’s claim). The standard for a claim that an action is
    unauthorized under the Administrative Procedures Act is different for purposes of a
    takings claim. We find that defendant has not established the elements of an estoppel
    defense and that the Order was an authorized action for purposes of a takings claim. 6



6
    The Government referred to Food & Drug Admin. v. Brown & Williamson Tobacco
    Corp., 529 U.S. 120 (2000) and A-1 Cigarette Vending v. United States, 49 Fed. Cl. 345
    (2001) for the proposition that a takings claim cannot rest on unauthorized agency action.
    In those cases, however, the Supreme Court and the Court of Claims concluded that a
    takings claims cannot arise from executive action that is wholly unauthorized; not
    whether an official in an agency had properly exercised her authority. See Food & Drug
    Admin., 529 U.S. at 160–61 (finding that Congress had not given FDA the authority to
    regulate tobacco products as customarily marketed); A-1 Cigarette Vending, 49 Fed. Cl.
    at 351 (stating that “a compensable taking cannot arise from executive actions that are
    wholly unauthorized”). There is no dispute, here, that the EPA was generally authorized
    to issue stop sale, use, or removal orders.
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           2. Takings and Cognizable Property Interests

            The Takings Clause states that “private property [shall not] be taken for public
    use, without just compensation.” U.S. CONST. AMEND. V. The Supreme Court has drawn
    a distinction between physical takings and regulatory takings from the Fifth Amendment.
    See Brown v. Legal Found. of Washington, 538 U.S. 216, 233–34 (2006) (stating that the
    former involves application of clear rules; whereas, the latter entails complex factual
    assessments of the purposes and economic effects of government actions).

           The analysis surrounding the issue of whether American has a cognizable property
    interest is central to both physical and regulatory claims. Whereas a physical taking
    expressly requires us to consider whether American has a “cognizable property interest”
    and whether the government’s action constitutes a compensable taking, Huntleigh USA
    Corp. v. United States, 525 F.3d 1370, 1377–78 (Fed. Cir. 2008); the test to determine
    whether a regulatory taking occurred supposes a cognizable property interest is present. 7

            Properly characterizing what constitutes American’s property interest is essential
    to our appreciation of its takings claim because not all economic interests are cognizable
    property rights. United States v. Willow River Power Co., 324 U.S. 499, 502 (1945).
    Takings claims can be based on real property, tangible property, and intangible property.
    Huntleigh, 525 F.3d at 1377–78. American maintains that the EPA’s Order constitutes a
    regulatory taking of its PCNB business, which includes inter alia manufacturing facilities
    and processes, intellectual property, distribution networks, sales, and transferable
    registrations and licenses. We disagree.

           It is well settled “that existing rules and understandings and background principles
    derived from an independent source, such as state, federal, or common law, define the
    dimensions of the requisite property rights for the purposes of establishing a cognizable
    taking.” Acceptance Ins. Co., v. United States, 583 F.3d 849, 857 (Fed. Cir. 2009)
    (quotation omitted); Bair v. United States, 515 F.3d 1323, 1329 (Fed Cir. 2008) (stating
    that federal statutes can constitute a “‘background principle’ that inhere in the title to
    property interests arising after its enactment, therefore precluding a takings claim based
    on the application of the statute to those property interest”) (citations omitted)).

          Together with this understanding of how to define the requisite property right, the
    Government maintains that plaintiff does not possess a right to exclude it from its
    domestic sales or transfers of pesticides (i.e., the right to sole and exclusive possession)

7
    The Supreme Court supplied the balancing test for determining whether a regulatory
    taking has occurred in Penn Cent. Transp. Co. City of New York, 438 U.S. 104 (1978).
    The Supreme Court in Penn Cent. examined the regulation’s economic impact, the extent
    to which the regulation interfered with investment-backed expectations, and the nature or
    character of the governmental action. Id. at 124.
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    because its interest at all times was subject to a regulatory scheme that permitted the EPA
    to enjoin its sales of PCNB products where it had reason to believe it violated the Act. In
    support, defendant contends that plaintiff’s claim is foreclosed, as it voluntarily entered
    into an area that is subject to pervasive government control. (ECF No. 45 at 29 (citing
    Hearts Bluff Game Ranch, Inc. v. United States, 669 F.3d 1326, 1330 (Fed. Cir. 2012)).

           Several cases cited by defendant are distinguishable in various respects; we find,
    however, that plaintiff does not have a cognizable property interest in using property in a
    manner that EPA believes to be harmful to the public. For instance, the Government
    refers to Acceptance, which held that an insurance company did not have a property
    interest in selling crop insurance policies to another company. 583 F.3d at 857. Yet as
    American points out, though the government disapproved of the sale in Acceptance, the
    property interest at issue there were federally reinsured crop insurance policies. 583 F.3d
    at 857–58 (stating that by voluntarily entering into the federally regulated crop insurance
    program, the plaintiff relinquished its right to freely transfer policies, in exchange for the
    benefits of the crop insurance program). 8

            The Constitution protects rather than creates property interests. Phillips v.
    Washington Legal Found., 524 U.S. 156, 165 (1998). Though CSFs and registrations are
    submitted to the EPA for approval under the Act, the Act does not create the right to sell
    pesticides. The Act, however, defines American’s relation to the right, which includes
    how it may use, possess, and dispose of it. The evolution of the Act from a labelling law
    into a comprehensive regulatory statute, albeit out of a concern to protect the public, does
    not operate to transform the nature of the right. American devotes much of its briefs to
    delineating the source and nature of its right; yet, it is not clearly responsive to the claim
    that the sale and use of pesticides have long been the subject of government regulation. 9

8
  Just as Acceptance is distinguishable because it involves businesses that were created by
  federal law, as opposed to merely regulated by it, the Government’s reliance on Hearts
  Buff is similarly distinguishable. See Hearts Buff, 69 F.3d at 1329 (finding that plaintiff
  did not have a cognizable property interest in obtaining a mitigating banking instrument
  for a federally created wetlands mitigation banking program).
9
  The Supreme Court in Ruckelshaus v. Monsanto Co., 467 U.S. 986, 991–92 (1984) stated
  that:

                  In 1970, the Department of Agriculture's [Federal Insecticide,
                  Fungicide, and Rodenticide Act] responsibilities were
                  transferred to the then newly created Environmental
                  Protection Agency . . . . Because of mounting public concern
                  about the safety of pesticides and their effect on the
                  environment and because of a growing perception that the
                  existing legislation was not equal to the task of safeguarding
                  the public interest . . . Congress undertook a comprehensive
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       The Federal Circuit has previously determined that there is no property interest in
using property in a manner that is harmful to the general public. Mitchell Arms, Inc. v.
United States, 7 F.3d 212 (Fed. Cir. 1993). In that case, the plaintiff alleged that the
government had taken its property by revoking and suspending permits to import rifles
and therefore “taken” its contractual relationship with the buyer. The Federal Circuit
affirmed the ruling of the trial court, which stated that:

              the interest affected by [the Bureau of Alcohol, Tobacco, and
              Firearms’s] actions—the right to sell assault weapons in
              domestic commerce—is not a right inherent in plaintiff’s
              ownership of those weapons. That right comes into being
              only upon the issuance of an import permit. Since however, it
              is Congress alone which has the power to regulate commerce
              with foreign nations, plaintiff does not have an enforceable
              right to the issuance of an import license. For that same
              reason then, plaintiff has no basis on which to found a taking
              claim.

Id. at 217 (citing 26 Cl. Ct. 1, 6 (1992)) (explaining that the government did not take
plaintiff’s rifles, rather it took its ability to realize an expectation in the ultimate market
disposition of the rifles – a collateral interest incidental to plaintiff’s ownership of rifles).

       Plaintiff alleges that defendant took its domestic PCNB business, not the actual
pesticides. The right to sell those pesticides domestically, however, is controlled entirely
by EPA under the Act. Without permission from EPA, it cannot exercise its right to sell
PCNB. The pesticide here is similar to the rifles in Mitchell Arms as the sale is closely

              revision of [the Federal Insecticide, Fungicide, and
              Rodenticide Act] through the adoption of the Federal
              Environmental Pesticide Control Act of 1972, 86 Stat. 973.
              The amendments transformed [the Federal Insecticide,
              Fungicide, and Rodenticide Act] from a labeling law into a
              comprehensive regulatory statute. H.R. Rep. No. 92–511, at
              1. As amended, [the Federal Insecticide, Fungicide, and
              Rodenticide Act] regulated the use, as well as the sale and
              labeling, of pesticides; regulated pesticides produced and sold
              in both intrastate and interstate commerce; provided for
              review, cancellation, and suspension of registration; and gave
              EPA greater enforcement authority. Congress also added a
              new criterion for registration: that EPA determine that the
              pesticide will not cause ‘unreasonable adverse effects on the
              environment.’ §§ 3(c)(5)(C) and (D), 86 Stat. 980–981.


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regulated by the federal government and it may present a risk to the general public. See
Allied-General Nuclear Servs. v. United States, 839 F.2d 1572, 1576 (Fed. Cir. 1988)
(“[T]he basic rule that is dispositive here is that as against reasonable state regulation, no
one has a legally protected right to use property in a manner that is injurious to the safety
of the general public.”).

       Because American has no cognizable property interest in their “domestic PCNB
business,” we need not go any further to determine if a taking occurred. Hearts Bluff, 669
F.3d at 1329 (stating that where the threshold issue of whether there is a cognizable
property interest is not met, the court need not consider whether a taking occurred).

                                      CONCLUSION

      The Government’s motion for summary judgment is GRANTED. American’s
cross-motion for summary judgment is DENIED. The Clerk of Court is directed to
dismiss the complaint.

       IT IS SO ORDERED.


                                           s/Robert H. Hodges, Jr.
                                           Robert H. Hodges, Jr.
                                           Senior Judge




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